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                        IN THE UNITEll STATES BANKRUPTCY'COURT
                             FOR THE DISTRICT OI+ D~LAWAR~

In re:                                                ~    Chapter 7

GLOBAL AVIATION HOLDINGS,                                  Case No. 13-12945(MFW)
INC., et al. l
                                                          (Jointly Administered)
                           Debtors.
                                                          Objection Deadline: Oct. 4,2017 at 4:00 p.m.(~T)
                                                          Hearing Date: Oct. 18, 2017 at 2:00 p.m.(~T)


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     PURSUANT TO 11 U.S.C. §§ 327(a) AND 328(a),I+ED. R. BANKR.P. 2014(a)
 AND DEL.BANKR. L. R. 2014-1 AUTHORIZING EMPLOYMENT AND RETENTION
     OF RELIABLE RECOVERY SERVICE TO RECOVER CERTAIN FUNDS,
                  NUNC PRO TUNC TO AUGUST 31,2017

                  Alfred T. Giuliano, chapter 7 trustee (the "Trustee") to the estates ofthe above-

captioned debtors (the "Debtors"), hereby respectfully submits this application (the

"Application"), pursuant to sections 327(a) and 328(a) of title 11 of the United States Code (the

`Bankruptcy Code"), Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules") and Rule 2014-1 of the Local Rules for the United States Bankruptcy Court

for the District of Delaware (the "Local Rules"), for an order authorizing the retention and

employment of Reliable Recovery Service ("RRS"), nunc pi^o font to August 31, 2017 as the

Trustee's agent to pursue recovery of certain personal property tax refunds owed to Debtor

World Airways, Inc. In support of this Application, the Trustee submits the Declaration of

Richard Kay (the "Declaration"), attached hereto as Exhibit A. In further support of this

Application, the Trustee respectfully states as follows:




~ The Debtors and the last four digits of their respective federal taxpayer identification nuinbeis are as follows:
Global Aviation Holdings, Inc.(2196); Global Shared Services, Inc.(1692); New ATA Acquisition Inc.(1985);
New ATA Investment Inc.(2109); North American Airlines, Inc.(8792); World Air Holdings, Inc.(1036); and
World Airways, Inc.(8276). The Debtors' former corporate address was 101 World Drive, Peachtree City, Georgia
30269.


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                                           Jurisdiction and `'enue

                             The United States Bankruptcy Court for the District of Delaware (the

"Court") has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing ONde~ ofReferoncefi^om the United States DistNict CourtfoN the DistT^ict of

Delawafe, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

 U.S.C. § 157(b)(2), and the Trustee confirms his consent pursuant to Rule 9013-1(~ of the Local

Rules of Bankruptcy Practice and Procedure of the United States T~ankriaptcy Col~rt for the

District of Delaware (the "Local Rules") to the entry of a final order by the Court in connection

with this Application to the extent that it is later determined that the Court, absent consent ofthe

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

ofthe United States Constitution.

                  2.         Venue of this proceeding and this Application is proper in this District

pursuant to 28 U.S.C. §§ 1408 and 1409.

                             The statutory bases for the relief requested herein are sections 327(a) and

328(a) of the Bankruptcy Code, Bankruptcy Rule 2014, and Local Rule 2014-1.

                                                 Background

                  4.         On November 12, 2013 (the "Petition Date"), the Debtors each

commenced a case by filing a voluntary petition for relief in this Court under chapter 7 ofthe

Bankruptcy Code (collectively, the "Cases"). The Cases are being jointly administered for

procedural purposes pursuant to Bankruptcy Rule 1015(b).

                             On September 30, 2014, the Court entered. ari order converting these

Chapter 11 Cases to Chapter 7 Cases [Docket No. 869].




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                 6.         On October 1, 2014, Alfred T. Giuliano was appointed as the Chapter 7

Trustee [Docket No. 871].

                                             Relief Requested

                 7.         By this Application, the Trustee seeks the entry of an order, in

substantially the form attached hereto as Exhibit B, pursuant to sections 327(a) and 328(a) of the

Bankruptcy Code, Bankruptcy Rule 2014(a) and Local Rule 2014-1, authorizing the Trustee to

employ and retain RRS, Hunt p~°o tunc to August 31, 2017, to pursue recovery ofthe tax refunds

on a 10% contingency fee, pursuant to the terms and conditions set forth in the agreement(the

"Agreement") attached hereto as Exhibit C.

                                  Scope of Services and Compensation

                            As set forth in the Agreement, the Trustee seeks to engage RRS to pursue

recovery of certain personal property tax refunds on a 10% contingency fee basis. RRS shall not

be required to file a final fee application in these cases.

                                           RRS's Qualifications

                 9.         The Trustee seeks to retain RRS because of its extensive experience in

recovering funds and unclaimed property owed to corporations, businesses, and individuals.

These assets include overlooked, unidentified and misclassified merger, acquisition or sale

assets, unnoticed refunds from government and licensing agencies, unclaimed overpayments,

unexercised warrants and options, and unclaimed credit balances, among others. RRS has

recovered funds and. assets for major companies and financial institutions, including AutoNation,

Inc., CB Richard Ellis, CBS Television, Citigroup, Ford. Motor Company, GE Capital, Hilton

Hotels, Honeywell, Kmart, Lowe's, Merrill Lynch, MetLife, Prudential, Shell Oil Company, and

The Boeing Corporation, among others.




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                                         RRS's Disinterestedness

                 10.        To the best of the Trustee's ktlowledge, except as may otherwise be set

forth in the Declaration, RRS (a) is not a creditor, equity security holder or insider of the

Debtors,(b)is not and was riot, within 2 years before the Petition Date, a director, officer or

employee of the Debtors,(c) does not hold or represent any interest materially adverse to the

interests of the Debtors' estates or any class of creditors or equity security holders and (d)is not

t~elated to anv iud~e of this Coutt, the Office of the United States Trustee for the District of

Delaware (the "U.S. Trustee") or any employee of the U.S. Trustee.

                 11.        Accordingly, the Trustee believes that RRS is a "disinterested person"

within the meaning of section 101(14), as modified by section 1107(b), of the Bankruptcy Code,

and its representation of the Trustee is permissible under sections 327(a) and 328(a) of the

Bankruptcy Code and is in the best interests of all parties-in-interest.

                                        Basis for Relief Requested

                 12.        Bankruptcy Code section 327(a), provides that, subject to court approval,

a trustee may employ one or more professionals that do not hold or represent an interest adverse

to the estate and that are disinterested persons to assist the debtor in possession in carrying out its

duties under the Bankruptcy Code. 11 U.S.C. § 327(a). Bankruptcy Code section 328 provides,

in pertinent part, that a professional may be employed under section 327 of the Bankruptcy Code

"on any reasonable terms and conditions of employment, including on a retainer, on an hourly

basis, on a fixed or percentage fee basis, or on a contingent fee basis." ll U.S.C. § 328(a).

                 13.        Bankruptcy Rule 2014 requires that an application for retention include:

specific facts showing the necessity for the employment, the name of the firm to be employed,

the reasons for the selection, the services to be rendered, any proposed compensation

arrangement, and, to the best of the applicant's knowledge, all of the firm's connections with the

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debtor, creditors, any other party in interest, their respective attorneys and accountants, the

United States Trustee, or any person employed in the office of the United States Trustee. Ped. R.

Bankr. P. 2014(a).

                   14.        Section 328(a) of the Bankruptcy Code permits the compensation of

professionals, including financial advisors and investment bankers, on flexible terms that reflect

the nature of their services and market conditions. Section 328(a) was amended by the

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may employ a professional person on any reasonable terms and conditions of employment,

including "on a fixed or percentage fee basis, or on a contingent fee basis." 11 U.S.C. § 328(a).

This new language makes clear the ability of a trustee's to retain, with court approval, a

professional on a fixed percentage fee basis or a contingent fee basis such as the fees in the

Agreement.

                   15.        The Court should approve the Trustee's engagement of RRS because it

will apply its industry experience in pursuing recovery offunds in unclaimed property and funds.

                   16.        In addition, by this Application the Trustee seeps retention of RRS nuns

pro tunc to August 31, 2017. A decision to grant nunc pNo tunc approval is in the discretion of

the bankruptcy court. In re Indian Rives Honzes, Inc., 108 B.R. 46, 50(D. Del. 1989).

                                                     Notice

                   17.        Notice of this Application has been given to the following parties, or their

counsel, if known: (a)the Office of the United States Trustee for the District of Delaware;(b)

counsel to the Debtors; and (c) counsel to the Debtors' prepetition lenders;(d) RRS; and (e)

those persons who have requested notice pursuant to Bankruptcy Rule 2002. The Trustee

submits that no other or further notice is necessary or required.




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                                               Na Pe•io~• Request

                  18.        No przor applicatiozi for the relief sought 1~erein leas teen made to this ar

any other' COl1T~.

                  WHEREI~'OI2E, tl~e Trustee respcctfuIly ~•ec~uests that tl~e Court entez~ an order,

substantially in the form submitted with the Applicatiai~,(i) authorizing il~e T~~ustee to retain and

employ TZIZS r~crrrc pr o tt~~zc to August 31, 2017, a~~d {ii) granting such atllez~ acid further• ~•elief as

ti~~ Courl riiay deei~i just and proper.


Dated:        `~ ~~—,2017
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                                                     Ch p~r 7 z~t~stee for the Estates of
                                                     Glo al Aviation I-Xolciings, Inc., ct al.




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